                Case 2:13-cr-00177-KJM Document 75 Filed 03/11/14 Page 1 of 2



 1   BENJAMIN B. WAGNER
     United States Attorney
 2   JILL M. THOMAS
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, CA 95814
 4   Telephone: (916) 554-2700

 5

 6

 7

 8                           IN THE UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                    2:13-CR-00177-KJM
12                  Plaintiff,
                                                  FINAL ORDER OF FORFEITURE
13         v.
14   JOSHUA AVILA, aka “Scarface”,
15                  Defendant.
16

17         WHEREAS, on or about January 9, 2014, this Court entered a Preliminary Order of

18 Forfeiture pursuant to the provisions of 21 U.S.C. § 853(a), based upon the plea agreement

19 entered into between plaintiff and defendant Joshua Avila, forfeiting to the United States

20 the following property:

21                 a.      Approximately $34,315.00 in U.S. Currency
22         AND WHEREAS, beginning on January 10, 2014, for at least 30 consecutive days,

23 the United States published notice of the Court’s Order of Forfeiture on the official

24 internet government forfeiture site www.forfeiture.gov. Said published notice advised all

25 third parties of their right to petition the Court within sixty (60) days from the first day of

26 publication of the notice for a hearing to adjudicate the validity of their alleged legal

27 interest in the forfeited property;

28
                                                   1
                                                                             Final Order of Forfeiture
                 Case 2:13-cr-00177-KJM Document 75 Filed 03/11/14 Page 2 of 2



 1          AND WHEREAS, the Court has been advised that no third party has filed a claim

 2 to the subject property, and the time for any person or entity to file a claim has expired.

 3          Accordingly, it is hereby ORDERED and ADJUDGED:

 4          1.      A Final Order of Forfeiture shall be entered forfeiting to the United States of

 5 America all right, title, and interest in the above-listed property pursuant to 21 U.S.C. §

 6 853(a) to be disposed of according to law, including all right, title, and interest of Joshua

 7 Avila.

 8          2.      All right, title, and interest in the above-listed property shall vest solely in

 9 the name of the United States of America.

10          3.      The U.S. Marshals Service shall maintain custody of and control over the

11 subject property until it is disposed of according to law.

12          SO ORDERED this 10th day of March, 2014.

13

14

15                                                   UNITED STATES DISTRICT JUDGE

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                      2
                                                                                 Final Order of Forfeiture
